                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 3:12-00170
                                                     )       Judge Trauger
[5] JAIME BENCOMO-GARCIA                             )
                                                     )

                                           ORDER

       An evidentiary hearing was held on November 22, 2013 on the defendant’s Motion For

Medical Furlough (Docket No. 82). The motion is DENIED, but a compelling case was

presented by the defense that this defendant has a golf-ball-sized hernia that is causing him

excruciating pain. He is not receiving adequate pain medication, and, at this point, he is

probably in need of surgical repair.

       For these reasons, it is hereby ORDERED that the United States Marshal shall have the

defendant examined by an outside physician, preferably Wayne Bush, M.D. of Bowling Green,

Kentucky, who examined the defendant for this hernia issue on October 10, 2012, in order to

determine whether he is in need of immediate surgery and/or pain medication that will give him

some relief.

       It is so ORDERED.

       ENTER this 22nd day of November 2013.


                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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